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                                      10
                                      11                       UNITED STATES DISTRICT COURT
                                                              CENTRAL DISTRICT OF CALIFORNIA
                                      12
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                                      13    ROSA CALDERON and JAVIER                   Case No.: 8:16-cv-1266
      C OS TA M ES A , CA 92 62 6




                                            CALDERON, Individually And
                                      14    On Behalf Of All Others Similarly          CLASS ACTION COMPLAINT FOR
                                            Situated,                                  DAMAGES AND INJUNCTIVE
                                      15                                               RELIEF FOR VIOLATION OF:
                                      16                Plaintiffs,                    (1) THE FAIR DEBT COLLECTION
                                                                                           PRACTICES ACT 15 U.S.C.
                                      17                        v.                         § 1692, ET SEQ.; AND,
                                      18    THE WOLF FIRM, A LAW                       (2) THE ROSENTHAL FAIR DEBT
                                                                                           COLLECTION PRACTICES
                                      19    CORPORATION,                                   ACT, CAL. CIV. CODE § 1788,
                                                                                           ET SEQ.
                                      20
                                                         Defendant.
                                      21                                               JURY TRIAL DEMANDED
                                      22
                                      23    //

                                      24    //

                                      25    //

                                      26    //

                                      27
                                      28
                                            COMPLAINT                                                           PAGE 1 OF 13
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                                      1                                         INTRODUCTION
                                      2     1.   The United States Congress has found abundant evidence of the use of
                                      3          abusive, deceptive, and unfair debt collection practices by many debt
                                      4          collectors, and has determined that abusive debt collection practices contribute
                                      5          to the number of personal bankruptcies, to marital instability, to the loss of
                                      6          jobs, and to invasions of individual privacy. Congress wrote the Fair Debt
                                      7          Collection Practices Act, 15 U.S.C. § 1692 et seq, to eliminate abusive debt
                                      8          collection practices by debt collectors, to insure that those debt collectors who
                                      9          refrain from using abusive debt collection practices are not competitively
                                      10         disadvantaged, and to promote consistent State action to protect consumers
                                      11         against debt collection abuses.
                                      12    2.   Similarly, the California legislature has determined that the banking and credit
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                                      13         system and grantors of credit to consumers are dependent upon the collection
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                                      14         of just and owing debts and that unfair or deceptive collection practices
                                      15         undermine the public confidence that is essential to the continued functioning
                                      16         of the banking and credit system and sound extensions of credit to consumers.
                                      17         The Legislature has further determined that there is a need to ensure that debt
                                      18         collectors exercise this responsibility with fairness, honesty, and due regard
                                      19         for the debtor’s rights and that debt collectors must be prohibited from
                                      20         engaging in unfair or deceptive acts or practices.1
                                      21    3.   Plaintiffs ROSA CALDERON and Javier CALDERON (“Plaintiffs”), through
                                      22         Plaintiffs’ attorneys, brings this action to challenge the actions of THE WOLF
                                      23         FIRM, A LAW CORPORATION (“Defendant”) with regard to attempts by
                                      24         Defendant to unlawfully and abusively collect a debt allegedly owed by
                                      25         Plaintiffs, and this conduct caused Plaintiffs damages.
                                      26    4.   Plaintiffs make these allegations on information and belief, with the exception
                                      27         of those allegations that pertain to Plaintiffs, or to Plaintiffs’ counsel, which
                                      28    1
                                             Cal. Civ. Code §§ 1788.1 (a)-(b)
                                            COMPLAINT                                                                PAGE 2 OF 13
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                                      1          Plaintiffs alleges on personal knowledge.
                                      2     5.   While many violations are described below with specificity, this Complaint
                                      3          alleges violations of the statute cited in its entirety.
                                      4     6.   Unless otherwise stated, all the conduct engaged in by Defendant took place
                                      5          in California.
                                      6     7.   Any violations by Defendant were knowing, willful, and intentional, and
                                      7          Defendant did not maintain procedures reasonably adapted to avoid any such
                                      8          violation.
                                      9     8.   Unless otherwise indicated, the use of Defendant’s names in this Complaint
                                      10         includes all agents, employees, officers, members, directors, heirs, successors,
                                      11         assigns, principals, trustees, sureties, subrogees, representatives, and insurers
                                      12         of Defendant’ named.
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                                      13                                      JURISDICTION AND VENUE
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                                      14    9.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 and 15 U.S.C. §
                                      15         1692(k). In addition, pursuant to 28 U.S.C. §1367, this Court has
                                      16         supplemental jurisdiction over Plaintiff’s state law claims.
                                      17    10. This action arises out of Defendant’s violations of: (i) the Fair Debt Collection
                                      18         Practices Act, 15 U.S.C. §§ 1692-1692(p) (“FDCPA”) and (ii) the Rosenthal
                                      19         Fair Debt Collection Practices Act, California Civil Code §§ 1788-1788.32
                                      20         (“RFDCPA”).
                                      21    11. Because Defendant is incorporated and conducts business within the State of
                                      22         California, personal jurisdiction is established.
                                      23    12. Venue is proper in the United States District Court, Central District of
                                      24         California pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                      25         Defendant’s principal place of business is in County of Orange which is
                                      26         within this judicial district; (ii) the conduct complained of herein occurred
                                      27         within this judicial district; and, (iii) Defendant conducted business within this
                                      28         judicial district at all times relevant.
                                            COMPLAINT                                                                 PAGE 3 OF 13
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                                      1                                           PARTIES
                                      2     13. Plaintiffs are natural persons who resides in the City of Redwood City,
                                      3          County of San Mateo, in the State of California, from whom a debt collector
                                      4          sought to collect a consumer debt which was due and owing or alleged to be
                                      5          due and owing from Plaintiffs, and are “debtor(s)” as that term is defined by
                                      6          California Civil Code § 1788.2(h). In addition, Plaintiffs are natural persons
                                      7          allegedly obligated to pay a debt, and are “consumer(s)”‚ as that term is
                                      8          defined by 15 U.S.C. § 1692a(3).
                                      9     14. Defendant is a corporation incorporated in the State of California with a
                                      10         principle place of business in County of Orange, State of California.
                                      11         Defendant, in the ordinary course of business, regularly, on behalf of itself or
                                      12         others, engages in debt collection as that term is defined by California Civil
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                                      13         Code § 1788.2(b), and is therefore a “debt collector” as that term is defined by
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                                      14         California Civil Code § 1788.2(c) and 15 U.S.C. 1692a(6).
                                      15    15. Additionally, Defendant is a “person” who uses an instrumentality of
                                      16         interstate commerce or the mails in a business the principal purpose of which
                                      17         is the collection of debts, or who regularly collects or attempts to collect,
                                      18         directly or indirectly, debts owed or due or asserted to be owed or due another
                                      19         and is therefore a “debt collector” as that phrase is defined by 15 U.S.C. §
                                      20         1692a(6).
                                      21    16. This case involves money, property or their equivalent, due or owing or
                                      22         alleged to be due or owing from a natural person by reason of a consumer
                                      23         credit transaction. As such, this action arises out of a “consumer debt” and
                                      24         “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f)
                                      25         and a “debt” as that term is defined by 15 U.S.C. 1692a(5).
                                      26    //
                                      27    //
                                      28    //
                                            COMPLAINT                                                               PAGE 4 OF 13
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                                      1                                   FACTUAL ALLEGATIONS
                                      2     17. At all times relevant, Plaintiffs are individuals residing within City of
                                      3         Redwood City, County of San Mateo, in the State of California.
                                      4     18. Plaintiffs are informed and believe, and thereon allege, that at all times
                                      5         relevant, Defendant conducted business in the State of California.
                                      6     19. Plaintiff are informed and believe, and thereon allege that sometime before
                                      7         July 15, 2015, Plaintiffs allegedly incurred financial obligations to an original
                                      8         creditor, Franklin Credit Management Corporation, that were money,
                                      9         property, or their equivalent, which is due or owing, or alleged to be due or
                                      10        owing, from a natural person to another person and were therefore “debt(s)”
                                      11        as that term is defined by California Civil Code §1788.2(d), and a “consumer
                                      12        debt” as that term is defined by California Civil Code §1788.2(f) and 15
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                                      13        U.S.C. § 1692a(5).
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                                      14    20. Sometime thereafter, Defendant alleges that Plaintiff allegedly fell behind on
                                      15        the payments allegedly owed on the alleged debt. Plaintiff currently takes no
                                      16        position as to the validity of the alleged debt.
                                      17    21. Subsequently, the alleged debt was allegedly assigned, placed, or otherwise
                                      18        transferred, to Defendant for collection activity.
                                      19    22. On or about July 16, 2015, Defendant sent Plaintiff an initial written
                                      20        communication in regards to the alleged debt in an attempt to collected the
                                      21        alleged past due amount (the “Letter”). This Letter is considered a
                                      22        “communication” as 15 U.S.C. § 1692a(2) defines that term, and “debt
                                      23        collection” as that phrase is defined by Cal. Civ. Code § 1788.2(b).
                                      24    23. Defendant’s Letter demand Plaintiffs cure the alleged default within 30 days
                                      25        from the date of the letter. Specifically, the Letter states:
                                      26             “Unless you cure the default by the thirtieth (30th) day from the date
                                      27             hereof, (or if said date falls on a Saturday, Sunday or legal holiday,
                                      28             then on the first business day thereafter), then immediately thereafter,
                                            COMPLAINT                                                                PAGE 5 OF 13
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                                      1              and without further demand or notice to you, our client shall declare
                                      2              the entire sum of both principal and interest immediately due and
                                      3              payable, and invoke any and all remedies…”
                                      4     24. Although Defendant’s Letter attempted to notify Plaintiffs of their right to
                                      5         dispute the validity of the debt, as required under the FDCPA, the language
                                      6         did not comply with the verbatim requirements of 15 U.S.C. § 1692g(a)(4)
                                      7         and (5); and, the Letter completely omitted the notice required under the Cal
                                      8         Civ. Code § 1812.700.
                                      9     25. Furthermore, and more importantly, subsequently to providing an incomplete
                                      10        notice of Plaintiffs’ rights under the FDCPA and the RFDCPA, Defendant’s
                                      11        Letter stated that:
                                      12             “[t]he activity contemplated in this paragraph (i.e., the paragraph
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                                      13             attempting to notify Plaintiffs’ of their debt collection rights) will not
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                                      14             alter or extend any time period or activity set out in other paragraphs
                                      15             (i.e., the paragraph demanding Plaintiff cure the debt within 30 days).”
                                      16    26. Through this conduct, Defendant violated 15 U.S.C §1692e and 15 U.S.C
                                      17        §1692e(10), which are incorporated into the RFDCPA through Cal. Civ. Code
                                      18        § 1788.17, by using false, deceptive, or misleading representations or means
                                      19        in connection with the debt collection, and false representations or deceptive
                                      20        means to collect a debt, by making the false representations that Plaintiffs
                                      21        must cure the alleged debt within 30 days from the date of the Letter, despite
                                      22        the fact that Plaintiffs actually have 30 days after receiving the Letter to
                                      23        dispute and have the debt validated. In other words, Defendant’s Letter
                                      24        constitutes a demand for payment before the expiration of the validation
                                      25        period required under the FDCPA. This overshadowing of the FDCPA is
                                      26        confusing and misleading, especially from the perspective of the least
                                      27        sophisticated debtor. Through this conduct, Defendant has also violated Cal.
                                      28        Civ. Code § 1788.17.
                                            COMPLAINT                                                              PAGE 6 OF 13
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                                      1     27. Through this conduct, Defendant violated 15 U.S.C §1692d, which is
                                      2         incorporated into the RFDCPA through Cal. Civ. Code § 1788.17, by
                                      3         engaging in conduct, the natural consequence of which was to harass, oppress
                                      4         or abuse Plaintiffs. Thus, Defendant has also violated Cal. Civ. Code §
                                      5         1788.17.
                                      6     28. Through this conduct, Defendant violated 15 U.S.C §1692d(2), which is
                                      7         incorporated into the RFDCPA through Cal. Civ. Code § 1788.17, by using
                                      8         language that the natural consequence of which is to abuse the hearer. Thus,
                                      9         Defendant has also violated Cal. Civ. Code § 1788.17.
                                      10    29. Through this conduct, Defendant violated 15 U.S.C. § 1692f, which is
                                      11        incorporated into the RFDCPA through Cal. Civ. Code § 1788.17, by
                                      12        engaging in unfair or unconscionable means to collect or attempt to collect the
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                                      13        alleged debt by making the false representations that Plaintiff must cure
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                                      14        alleged debt within 30 days from the date of the Letter, despite the fact that
                                      15        Plaintiffs actually have 30 days after receiving the Letter to dispute and have
                                      16        the debt validated. In other words, Defendant’s Letters constitutes a demand
                                      17        for payment before the expiration of the validation period required under the
                                      18        FDCPA. This overshadowing of the FDCPA is confusing and misleading,
                                      19        especially from the perspective of the least sophisticated debtor. Thus,
                                      20        Defendant has also violated Cal. Civ. Code § 1788.17.
                                      21    30. Through this conduct, Defendant violated the RFDCPA by omitting the
                                      22        consumer collection notice required by Cal Civ. Code § 1812.700.
                                      23    31. As a result of Defendant’s deceptive and abusive debt collection practices,
                                      24        Plaintiffs, and each consumer that read Defendant’s Letter, suffered an
                                      25        invasion of a legally protected interest under the FDCPA and the RFDCPA by
                                      26        being deceived about their consumer debt collection rights. The FDCPA and
                                      27        the RFDCPA protects consumers from this precise behavior.
                                      28    32. Plaintiffs, and each consumer that read Defendant’s Letter, were affected
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                                      1         personally because they believed Defendant’s misrepresentations (i.e., that the
                                      2         deadlines to pay the alleged debts was 30 days from the date of the letter,
                                      3         despite the fact that Plaintiffs actually had 30 days after receiving the Letter to
                                      4         dispute and have the debts validated), which caused Plaintiffs anxiety and
                                      5         emotional distress, which in turn affected their personal life and wellbeing.
                                      6     33. Plaintiffs’ injuries are concrete as Defendant’s misrepresentations are
                                      7         analogues to common law misrepresentation.
                                      8     34. Furthermore, as stated in this Complaint’s introduction, Congress and the
                                      9         California legislature recognized the aggressive, deceptive and abusive
                                      10        methods of debt collection by certain collection companies; and, in order to
                                      11        create a fair playing field and not give the abusive debt collectors a
                                      12        competitive advantage, Congress and the California legislature created laws
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                                      13        such as the FDCPA and RFDCPA. Should the Defendant be allowed to
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                                      14        harass, humiliate, abuse and deceive Plaintiffs in the manner described above,
                                      15        collectors that try to collect in a civilized manner will be put at a competitive
                                      16        disadvantage, which is a risk brought about by such violations.
                                      17    35. Lastly, such transgressions by Defendant would progress to worse behavior if
                                      18        Congress and the California legislature had not created laws to give
                                      19        vulnerable consumers a voice through the statute alleged.
                                      20                                      CLASS ACTION
                                      21    36. Plaintiffs bring this class action on behalf of themselves, and on behalf of all
                                      22        others similarly situated.
                                      23    37. Plaintiffs define “the Class” as:
                                      24                 National Class: All persons with addresses within the
                                                         U.S. whom received Defendant’s initial debt collection
                                      25                 letter that omitted or obscured the notice required by 15
                                      26                 U.S.C. § 1692g, by demanding payment within 30 days
                                                         from the date the letter is sent, within one year prior to
                                      27                 the filing of the Complaint in this action.
                                      28
                                            COMPLAINT                                                                 PAGE 8 OF 13
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                                      1                 Subclass: All persons with addresses within the State of
                                                        California whom received Defendant’s initial debt
                                      2                 collection letter that omitted the notice required by Cal
                                      3                 Civ. Code § 1812.700, and/or omitted or obscured the
                                                        notice required by 15 U.S.C. § 1692g and in violation of
                                      4                 Cal. Civ. Code § 1788.17 by demanding payment within
                                      5                 30 days from the date the letter is sent, within one year
                                                        prior to the filing of the Complaint in this action.
                                      6
                                      7     38. The proposed Classes exclude current and former officers and directors of
                                      8         Defendant, members of the immediate families of the officers and directors of
                                      9         Defendant, Defendant’s legal representatives, heirs, successors, assigns, and
                                      10        any entity in which it has or has had a controlling interest, and the judicial
                                      11        officer to whom this lawsuit is assigned.
                                      12    39. Plaintiffs do not know the exact number of persons in the Class, but believe
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                                      13        them to be in the several hundreds, making joinder of all these actions
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                                      14        impracticable.
                                      15    40. The identity of the individual members is ascertainable through Defendant
                                      16        and/or Defendant’s agents’ records or by public notice.
                                      17    41. There is a well-defined community of interest in the questions of law and fact
                                      18        involved affecting the members of the Class. The questions of law and fact
                                      19        common to the Class predominate over questions affecting only individual
                                      20        class members, and include, but are not limited to, the following:
                                      21          a) Whether Defendant violated the FDCPA as described herein;
                                      22          b) Whether Defendant violated the RFDCPA as described herein;
                                      23          c) Whether members of the Class are entitled to the remedies under the
                                      24             FDCPA;
                                      25          d) Whether members of the Class are entitled to the remedies under the
                                      26             RFDCPA;
                                      27          e) Whether members of the Class are entitled to declaratory relief;
                                      28          f) Whether members of the Class are entitled to an award of reasonable
                                            COMPLAINT                                                                PAGE 9 OF 13
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                                      1              attorneys’ fees and costs of suit pursuant to the FDPCA;
                                      2          g) Whether members of the Class are entitled to an award of reasonable
                                      3              attorneys’ fees and costs of suit pursuant to the RFDPCA;
                                      4          h) Whether Defendant may satisfy Defendant’s affirmative defense of bona
                                      5              fide error with regard to Defendant’s violation of the FDCPA; and,
                                      6          i) Whether Defendant may satisfy Defendant’s affirmative defense of bona
                                      7              fide error with regard to Defendant’s violation of the RFDCPA.
                                      8    42. Plaintiffs will fairly and adequately protect the interest of the Class.
                                      9    43. Plaintiffs have retained counsel experienced in consumer class action
                                      10        litigation and in handling claims involving unlawful debt collection practices.
                                      11   44. Plaintiffs’ claims are typical of the claims of the Class, which all arise from
                                      12        the same operative facts involving unlawful collection practices.
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                                      13   45. A class action is a superior method for the fair and efficient adjudication of
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                                      14        this controversy.
                                      15   46. Class-wide damages are essential to induce Defendant to comply with the
                                      16        federal and State laws alleged in the Complaint.
                                      17   47. The interests of class members in individually controlling the prosecution of
                                      18        separate claims against Defendant is small because the maximum statutory
                                      19        damages in an individual action under the FDCPA and the RFDCPA is $1,000
                                      20        per statute. Management of these claims is likely to present significantly
                                      21        fewer difficulties than those presented in many class claims, e.g., securities
                                      22        fraud.
                                      23   48. Defendant has acted on grounds generally applicable to the classes, thereby
                                      24        making appropriate final declaratory relief with respect to the class as a
                                      25        whole.
                                      26   49. Plaintiff contemplates providing notice to the putative class members by direct
                                      27        mail in the form of a postcard-type notice and via Internet website.
                                      28   50. Plaintiffs request certification of a class for monetary damages.
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                                      1                                    CAUSES OF ACTION
                                      2                                         COUNT I
                                      3              VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                      4                           15 U.S.C. §§ 1692-1692(p) (FDCPA)
                                      5                                  [AGAINST DEFENDANT]
                                      6    51. Plaintiffs incorporate by reference all of the above paragraphs of this
                                      7          Complaint as though fully stated herein.
                                      8    52. The foregoing acts and omissions constitute numerous and multiple violations
                                      9          of the FDCPA.
                                      10   53. As a result of each and every violation of the FDCPA, Plaintiffs are entitled to
                                      11         any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages
                                      12         for a knowing or willful violation in the amount up to $1,000.00 pursuant to
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                                      13         15 U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant
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                                      14         to 15 U.S.C. § 1692k(a)(3) from Defendant.
                                      15                                        COUNT II
                                      16        VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                      17                      Cal. Civ. Code §§ 1788-1788.32 (RFDCPA)
                                      18                                 [AGAINST DEFENDANT]
                                      19   54. Plaintiffs incorporate by reference all of the above paragraphs of this
                                      20         Complaint as though fully stated herein.
                                      21   55. The foregoing acts and omissions constitute numerous and multiple violations
                                      22         of the RFDCPA.
                                      23   56. As a result of each and every violation of the RFDCPA, Plaintiffs are entitled
                                      24         to any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
                                      25         damages for a knowing or willful violation in the amount up to $1,000.00
                                      26         pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorneys fees and
                                      27         costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendant.
                                      28   //
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                                      1                                   PRAYER FOR RELIEF
                                      2    WHEREFORE, Plaintiffs pray that judgment be entered against Defendant for:
                                      3         • That this action be certified as a class action on behalf of The Class,
                                      4            Plaintiffs be appointed as representatives of the Class and designating
                                      5            Plaintiffs’ counsel as counsel for the Class;
                                      6         • An award of actual damages, in an amount to be determined at trial,
                                      7            pursuant to 15 U.S.C. § 1692k(a)(1);
                                      8         • An award of actual damages, in an amount to be determined at trial,
                                      9            pursuant to Cal. Civ. Code § 1788.30(a);
                                      10        • An award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
                                      11           1692k(a)(2)(A);
                                      12        • An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
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                                      13           § 1788.30(b);
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                                      14        • An award of costs of litigation and reasonable attorney’s fees, pursuant to
                                      15           15 U.S.C. § 1692k(a)(3);
                                      16        • An award of costs of litigation and reasonable attorney’s fees, pursuant to
                                      17           Cal. Civ. Code § 1788.30(c);
                                      18        • General damages according to proof, as to Plaintiffs;
                                      19        • Special damages according to proof, as to Plaintiffs;
                                      20        • Costs of suit incurred herein;
                                      21        • Any and all other relief the Court deems just and proper.
                                      22
                                      23   //
                                      24   //
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                                      1                                      TRIAL BY JURY
                                      2    57. Pursuant to the seventh amendment to the Constitution of the United States of
                                      3        America, Plaintiffs are entitled to, and demands, a trial by jury.
                                      4
                                      5    Dated: July 7, 2016                    KAZEROUNI LAW GROUP, APC
                                      6
                                      7                                            BY:    /S/ANDREI ARMAS
                                      8                                                      ABBAS KAZEROUNIAN, ESQ.
                                                                                             ANDREI ARMAS, ESQ.
                                      9                                                      ATTORNEYS FOR PLAINTIFF
                                      10
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